Case 2:05-Cr-20107-BBD Document 19 Filed 06/30/05 Page 1 of 2 Page|D 16

 

IN THE UNITED STATES DISTRICT coURT "‘E sy“~ ‘°'°'
FOR THE wEsTERN DISTRICT 0F TENNESSEE
wESTERN DIvIsION 05 JU~ 30 PH 3=56
UNITED STATES 0F AMERICA, U'S*WT
W OFIN, i¢WS
Plaintiff,
vs. Cr. No. 05-20107-D

JERIMIAH COLLINS,

Defendant.

 

ORDER GRANTING
MOTION FOR EXTENSION OF TIME
IN WHICH TO FILE PRETRIAL MOTIONS

 

THIS CAUSE having come before this Court upon the petition of
the defendant, Jerimiah Collins, for a sixty-day extension of time
in Which to prepare and file pretrial motions; and the Court having
found good cause therefore, GRANTS the motion.

The defendant is permitted an additional sixty days, or until

August 16, 2005, in which to file any pretrial motions.

DATE

 

 
 
 

Thfs document entered on the docks h e
mm Flm`e 55 and!or 32(|:)} FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20107 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

